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UNITED STATES DISTRICT COURT - — muDLé LSTRILT OF GEORGIA
MIDDLE DISTRICT OF GEORGIA

VALDOSTA DIVISION

 

IN RE FLOWERS FOODS, INC. Case No. 7:16-CV-00222 (WLS)
SECURITIES LITIGATION

Honorable W. Louis Sands

 

 

JUDGMENT APPROVING CLASS ACTION SETTLEMENT

WHEREAS, a consolidated class action is pending in this Court entitled Jn re Flowers
Foods, Inc. Securities Litigation, Case No. 7:16-cv-00222-WLS (the “Action”);

WHEREAS, (a) Lead Plaintiff Walter Matthews and plaintiff Chris B. Hendley
(“Plaintiffs”), on behalf of themselves and the Settlement Class (defined below), and (b) defendant
Flowers Foods, Inc., (“Flowers Foods’’), and the individual defendants George E. Deese, Allen L.
Shiver, R. Steve Kinsey, and Karyl H. Lauder (collectively, the “Individual Defendants,” and with
Flowers Foods, collectively, “Defendants,” and together with Plaintiffs, the “Parties”) have entered
into a Stipulation and Agreement of Settlement dated July 12, 2019 (the “Stipulation”), that
provides for a complete dismissal with prejudice of the claims asserted against Defendants in the
Action on the terms and conditions set forth in the Stipulation, subject to the approval of this Court
(the “Settlement”);

WHEREAS, unless otherwise defined in this Judgment, the capitalized terms herein shall
have the same meaning as they have in the Stipulation;

WHEREAS, by Order dated August 7, 2019 (the “Preliminary Approval Order”), this
Court: (a) preliminarily approved the Settlement; (b) certified the Settlement Class solely for
purposes of effectuating the Settlement; (c) ordered that notice of the proposed Settlement be
provided to potential Settlement Class Members; (d) provided Settlement Class Members with the
opportunity either to exclude themselves from the Settlement Class or to object to the proposed
Settlement; and (e) scheduled a hearing regarding final approval of the Settlement;

WHEREAS, due and adequate notice has been given to the Settlement Class;

WHEREAS, the Court conducted a hearing on December 11, 2019 (the “Settlement
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Hearing’), to consider, among other things, (a) whether the terms and conditions of the Settlement
are fair, reasonable, and adequate to the Settlement Class, and should therefore be approved; and
(b) whether a judgment should be entered dismissing the Action with prejudice as against the
Defendants; and

WHEREAS, the Court having reviewed and considered the Stipulation, all papers filed and
proceedings held herein in connection with the Settlement, all oral and written comments received
regarding the Settlement, and the record in the Action, and good cause appearing therefor;

IT IS HEREBY ORDERED, ADJUDGED, AND DECREED:

ie Jurisdiction — The Court has jurisdiction over the subject matter of the Action, and
all matters relating to the Settlement, as well as personal jurisdiction over all of the Parties and
each of the Settlement Class Members.

2. Incorporation of Settlement Documents — This Judgment incorporates and makes
a part hereof: (a) the Stipulation filed with the Court on July 12, 2019; and (b) the Notice and the
Summary Notice, both of which were filed with the Court on July 12, 2019.

a: Class Certification for Settlement Purposes — The Court hereby affirms its
determinations in the Preliminary Approval Order certifying, for the purposes of the Settlement
only, the Action as a class action pursuant to Rules 23(a) and (b)(3) of the Federal Rules of Civil
Procedure on behalf of the Settlement Class consisting of all persons and entities who or which
purchased or otherwise acquired Flowers Foods common stock during the period from February 7,
2013 through August 10, 2016, inclusive (the “Settlement Class Period”), and who were damaged
thereby. Excluded from the Settlement Class are (1) Defendants; (2) members of the Immediate
Family of each of the Individual Defendants; (3) any person who was an Officer or director of
Flowers Foods during the Settlement Class Period; (4) any firm or entity in which any Defendant
has or had a controlling interest during the Settlement Class Period; (5) any person who
participated in the wrongdoing alleged; (6) Defendants’ director and officer liability insurance
carriers, including, but not limited to, the D&O Insurers; (7) any affiliates, parents, or subsidiaries
of Flowers Foods; (8) all Flowers Foods’ plans that are covered by the Employee Retirement
Income Security Act of 1974 (“ERISA”); and (9) the legal representatives, agents, affiliates, heirs,
beneficiaries, successors-in-interest, or assigns of any such excluded party or entity, in their
respective capacity as such. Also excluded from the Settlement Class are the persons and entities

listed on Exhibit 1 hereto who or which are excluded from the Settlement Class pursuant to request.
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4, Adequacy of Representation — Pursuant to Rule 23 of the Federal Rules of Civil
Procedure, and for the purposes of the Settlement only, the Court hereby affirms its determinations
in the Preliminary Approval Order certifying Plaintiffs as Class Representatives for the Settlement
Class and appointing Lead Counsel as Class Counsel for the Settlement Class. Plaintiffs and Lead
Counsel have fairly and adequately represented the Settlement Class both in terms of litigating the
Action and for purposes of entering into and implementing the Settlement and have satisfied the
requirements of Federal Rules of Civil Procedure 23(a)(4) and 23(g), respectively.

5. Notice — The Court finds that the dissemination of the Notice and the publication
of the Summary Notice: (a) were implemented in accordance with the Preliminary Approval Order;
(b) constituted the best notice practicable under the circumstances; (c) constituted notice that was
reasonably calculated, under the circumstances, to apprise Settlement Class Members of (i) the
pendency of the Action; (ii) the effect of the proposed Settlement (including the Releases to be
provided thereunder); (iii) Lead Counsel’s motion for an award of attorneys’ fees and
reimbursement of Litigation Expenses; (iv) their right to object to any aspect of the Settlement, the
Plan of Allocation and/or Lead Counsel’s motion for attorneys’ fees and reimbursement of
Litigation Expenses; (v) their right to exclude themselves from the Settlement Class; and (vi) their
right to appear at the Settlement Hearing; (d) constituted due, adequate, and sufficient notice to all
persons and entities entitled to receive notice of the proposed Settlement; and (e) satisfied the
requirements of Rule 23 of the Federal Rules of Civil Procedure, the United States Constitution
(including the Due Process Clause), the Private Securities Litigation Reform Act of 1995, 15
U.S.C. § 78u-4, as amended, and all other applicable law and rules.

6. Final Settlement Approval and Dismissal _of Claims — Pursuant to, and in
accordance with, Rule 23 of the Federal Rules of Civil Procedure, this Court hereby fully and
finally approves the Settlement set forth in the Stipulation in all respects (including, without
limitation: the amount of the Settlement; the Releases provided for therein; and the dismissal with
prejudice of the claims asserted against Defendants in the Action), and finds that the Settlement is,
in all respects, fair, reasonable, and adequate to the Settlement Class. The Parties are directed to
implement, perform, and consummate the Settlement in accordance with the terms and provisions
contained in the Stipulation.

hs The Action and all of the claims asserted against Defendants in the Action by

Plaintiffs and the other Settlement Class Members are hereby dismissed with prejudice. The
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Parties shall bear their own costs and expenses, except as otherwise expressly provided in the
Stipulation.

8. Binding Effect — The terms of the Stipulation and of this Judgment shall be forever
binding on Defendants, Plaintiffs, and all other Settlement Class Members (regardless of whether
or not any individual Settlement Class Member submits a Claim Form or seeks or obtains a
distribution from the Net Settlement Fund), as well as their respective successors and assigns. The
persons and entities listed on Exhibit 1 hereto are excluded from the Settlement Class pursuant to
request and are not bound by the terms of the Stipulation or this Judgment.

9. Releases — The Releases set forth in paragraphs 5 and 6 of the Stipulation, together
with the definitions contained in paragraph 1 of the Stipulation relating thereto, are expressly
incorporated herein in all respects. The Releases are effective as of the Effective Date.
Accordingly, this Court orders that:

(a) Without further action by anyone, and subject to paragraph 10 below, upon
the Effective Date of the Settlement, Plaintiffs and each of the other Settlement Class Members,
on behalf of themselves, and their respective heirs, executors, administrators, predecessors,
successors, and assigns, in their capacities as such, shall be deemed to have, and by operation of
the Stipulation, of law, and of the Judgment shall have, fully, finally, and forever compromised,
settled, released, resolved, relinquished, waived, and discharged each and every Released
Plaintiffs’ Claim against the Defendants and the other Defendant Releasees, and shall forever be
barred, enjoined, and estopped from prosecuting any or all of the Released Plaintiffs’ Claims
against any of the Defendant Releasees. This Release shall not apply to any of the Excluded
Claims (as that term is defined in paragraph 1(r) of the Stipulation).

(b) Without further action by anyone, and subject to paragraph 10 below, upon
the Effective Date of the Settlement, Defendants, on behalf of themselves, and their respective
heirs, executors, administrators, predecessors, successors, and assigns in their capacities as such,
shall be deemed to have, and by operation of the Stipulation, of law, and of the Judgment shall
have, fully, finally, and forever compromised, settled, released, resolved, relinquished, waived,
and discharged each and every Released Defendants’ Claim against Plaintiffs and the other
Plaintiff Releasees, and shall forever be barred, enjoined, and estopped from prosecuting any or
all of the Released Defendants’ Claims against any of the Plaintiff Releasees. This Release shall

not apply to any person or entity listed on Exhibit | hereto,
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10. Notwithstanding paragraphs 9(a) — (b) above, nothing in this Judgment shall bar
any action by any of the Parties to enforce or effectuate the terms of the Stipulation or the
Judgment.

il. Rule 11 Findings — The Court finds and concludes that the Parties and their
respective counsel have complied in all respects with the requirements of Rule 11 of the Federal
Rules of Civil Procedure in connection with the institution, prosecution, defense, and settlement
of the Action.

12. No Admissions — Neither the Judgment, the Term Sheet, the Stipulation, including
the exhibits thereto and the Plan of Allocation contained therein (or any other plan of allocation
that may be approved by the Court), the Supplemental Agreement, the negotiations leading to the
execution of the Term Sheet and the Stipulation, nor any proceedings taken pursuant to or in
connection with the Term Sheet, the Stipulation, and/or approval of the Settlement (including any
arguments proffered in connection therewith):

(a) shall be (i) offered against any of the Defendant Releasees as evidence of,
or construed as, or deemed to be evidence of any presumption, concession, or admission by any of
the Defendant Releasees with respect to (A) the truth of any fact alleged by Plaintiffs; (B) the
validity of any claim that was or could have been asserted; (C) the deficiency of any defense that
has been or could have been asserted in this Action or in any other litigation; or (D) any liability,
negligence, fault, or other wrongdoing of any kind of any of the Defendant Releasees; or (ii) in
any way referred to for any other reason as against any of the Defendant Releasees, in any civil,
criminal, or administrative action or proceeding (including any arbitration), other than such
proceedings as may be necessary to effectuate the provisions of the Stipulation;

(b) shall be (i) offered against any of the Plaintiff Releasees, as evidence of, or
construed as, or deemed to be evidence of any presumption, concession, or admission by any of
the Plaintiff Releasees (A) that any of their claims are without merit, that any of the Defendant
Releasees had meritorious defenses, or that damages recoverable under the Complaint would not
have exceeded the Settlement Amount; or (B) with respect to any liability, negligence, fault, or
wrongdoing of any kind; or (ii) in any way referred to for any other reason as against any of the
Plaintiff Releasees, in any civil, criminal, or administrative action or proceeding (including any
arbitration), other than such proceedings as may be necessary to effectuate the provisions of the

Stipulation; or
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(c) shall be construed against any of the Releasees as an admission, concession,
or presumption that the consideration to be given under the Settlement represents the amount
which could be or would have been recovered after trial; provided, however, that the Parties and
the Releasees and their respective counsel may refer to this Judgment and the Stipulation to
effectuate the protections from liability granted hereunder and thereunder or otherwise to enforce
the terms of the Settlement.

13. Retention of Jurisdiction — Without affecting the finality of the Judgment in any
way, this Court retains continuing and exclusive jurisdiction over: (a) the Parties for purposes of
the administration, interpretation, implementation, and enforcement of the Settlement; (b) the
disposition of the Settlement Fund; (c) any motion for an award of attorneys’ fees and/or Litigation
Expenses by Lead Counsel in the Action that will be paid from the Settlement Fund; (d) any motion
to approve the Plan of Allocation; (e) any motion to approve the Class Distribution Order; and (f)
the Settlement Class Members for all matters relating to the Action.

14. Separate orders shall be entered regarding approval of a plan of allocation and the
motion of Lead Counsel for an award of attorneys’ fees and reimbursement of Litigation Expenses.
Such orders shall in no way affect or delay the finality of the Judgment and shall not affect or delay
the Effective Date of the Settlement.

15. Modification of the Agreement of Settlement — Without further approval from
the Court, Plaintiffs and Defendants are hereby authorized to agree to and adopt such amendments
or modifications of the Stipulation or any exhibits attached thereto to effectuate the Settlement
that: (a) are not materially inconsistent with the Judgment; and (b) do not materially limit the rights
of Settlement Class Members in connection with the Settlement. Without further order of the
Court, Plaintiffs and Defendants may agree to reasonable extensions of time to carry out any
provisions of the Settlement.

16. Termination of Settlement — If the Settlement is terminated as provided in the
Stipulation or the Effective Date of the Settlement otherwise fails to occur, this Judgment shall be
vacated, rendered null and void, and be of no further force and effect, except as otherwise provided
by the Stipulation, and this Judgment shall be without prejudice to the rights of Plaintiffs, the other
Settlement Class Members, and Defendants, and the Parties shall revert to their respective

positions in the Action as of May 9, 2019, as provided in the Stipulation.
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17. Entry of Final Judgment — There is no just reason to delay the entry of this
Judgment as a final judgment in this Action. Accordingly, the Clerk of the Court is expressly

directed to immediately enter this final judgment in this Action.

SO ORDERED this 744. day ol wonko , 2019.

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The Honorable W~Eouis Sands
Senior United States District Judge
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Exhibit 1
List of Persons and Entities Excluded from the
Settlement Class Pursuant to Request
l. Curtis and Doris Mayer
2 Kenneth and Maria Condran
2 Richard and Pauline Elwell
4, Sherri Forrester
5. Louis Kaplan
6. Merle A. Faris
7. Susan Coulter
8. William J. Krizsan
a, Gary Burchett

10. Chester S. Cyran
